                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  AT GREENEVILLE

UNITED STATES OF AMERICA,                           )
          Plaintiff,                                )
                                                    )
v.                                                  )       NO.: 2:13-CR-37
                                                    )
DERRICK HENRY CONNOR,                               )
          Defendant.                                )


                          MEMORANDUM OPINION AND ORDER

       The defendant, Derrick Henry Connor (“defendant” or “Connor”), was charged, along

with several others, on June 11, 2013, in Count One of an eight-count superseding indictment

with conspiracy to distribute and possess with intent to distribute 280 grams or more of crack

cocaine. On September 23, 2013, the United States filed an information pursuant to 18 U.S.C. §

851 to establish prior convictions and give notice of its intent to seek enhanced punishment. The

information alleges two prior drug felony convictions: (1) on August 10, 1994, defendant was

convicted of possession with intent to sell or deliver cocaine in Catawba County, North Carolina

Superior Court in case number 94CRS6904; and (2) on February 20, 1996, defendant was

convicted with possession with intent to sell or deliver cocaine in Iredell County, North Carolina

in case number 95CRS10978.

       Pursuant to a negotiated plea agreement, the defendant pled guilty on January 10, 2014, to

the lesser included charge of conspiracy to distribute and possess with intent to distribute 28

grams or more of crack cocaine. The United States agreed in the plea agreement to amend its

information to establish prior convictions to allege only the Catawba County conviction as a basis

for seeking enhanced punishment and to dismiss the other count of the indictment which charged

defendant. A lengthy factual stipulation was contained in the plea agreement.

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       Based upon a total offense level of 27 and a criminal history category of I, Connor’s

guideline imprisonment range is 70 months to 87 months; however, because of the amount of

crack cocaine involved and his prior felony drug conviction, a mandatory minimum sentence of

ten years applies. In the Presentence Investigation Report (“PSR”), the probation officer noted

the safety valve provisions of USSG § 5C1.2 (Limitation on Applicability of Statutory Minimum

Sentences in Certain Cases) but stated that “[a]ccording to the United States Attorney’s Office,

the defendant has not debriefed for Safety Valve purposes,” and declined to apply the two-level

decrease in offense level of § 2D1.1(b)(16).

       The defendant did not object to the PSR. Prior to sentencing, however, defendant filed a

sentencing memorandum in which he asserts entitlement to safety valve and the two-level

decrease in offense level of § 2D1.1(b)(16). A sentencing hearing was convened on July 30,

2014. The United States opposed defendant’s request, arguing that Connor did not meet the fifth

criteria for the safety valve relief sought. The Court held an evidentiary hearing at which Connor

testified, as did SA Chris Smith, the case agent.

       In 1994, Congress added the safety valve provision to 18 U.S.C. § 3553. Pub. L. 103-322,

§ 80001. To be eligible for a safety valve reduction below an otherwise applicable mandatory

minimum sentence, a defendant must satisfy five criteria listed in § 3553(f). The five criteria

were copied verbatim in the United States Sentencing Guidelines. USSG § 5C1.2(a)(1)-(5). The

five criteria require that (1) defendant has no more than one criminal history point, (2) defendant

did not use violence or threaten violence in committing the crime, (3) no one suffered death or

serious bodily injury, (4) defendant was not an organizer, leader, manager, or supervisor in the

offense, and (5) that not later than the time of the sentencing hearing, the defendant truthfully




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provide to the government all information and evidence he has concerning his offense or related

offenses. Id.; see also United States v. Adu, 82 F.3d 119, 124 (6th Cir. 1996).

         The parties agree that Connor meets the first four qualifying criteria.1 The fifth criterion,

however, is in dispute. Section 5C1.2(5) requires “an affirmative act by the defendant truthfully

disclosing all the information he possesses,” Adu, 82 F.3d at 124, and that he “give a full

forthright account of his activities.” United States v. Rodriguez-Ruiz, 2005 WL 3440343, at * 6

(6th Cir. Dec. 14, 2005) (quoting United States v. Sabir, 117 F.3d 750, 751 (3rd Cir. 1997) and

citing United States v. Salgado, 250 F.3d 438, 459 (6th Cir. 2001) (stating that defendant’s

“abbreviated statements” did not meet the fifth safety valve requirement that a defendant fully

disclose information about acts associated with the offense); United States v. Maduka, 104 F.3d

891, 894 (6th Cir. 1997) (holding that information provided by defendant was not complete

enough to satisfy the safety valve requirement because it failed to describe the involvement of

others in the relevant conduct); United States v. Scharon, 187 F.3d 17 (1st Cir. 1999) (holding that

defendant must provide information beyond facts related to the particular offense to satisfy safety

valve requirements)). The defendant has the burden of proving by a preponderance of the

evidence that he qualifies for safety valve. United States v. Harris, 468 F.3d 422, 427 (6th Cir.

2006); Adu, 82 F.3d at 123-24.

         Eligibility for the reduction requires more than simple acceptance of responsibility.

Rather, this provision requires a defendant “to reveal a broader scope of information about the

relevant criminal conduct to the authorities.” United States v. O’Dell, 247 F.3d 655, 675 (6th Cir.

2001) (citation and internal quotation marks omitted). “These stringent requirements reflect the

fact that the safety valve was intended to benefit only those defendants who truly cooperate.” Id.


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   Even though Connor has prior criminal history, including two prior drug felony convictions, he received no
criminal history points for any of his criminal convictions because of their age.

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(citation and internal quotation marks omitted). However, “the fact that the defendant has no

relevant or useful other information to provide or that the government is already aware of the

information shall not preclude a determination by the court that the defendant has complied with

this requirement.” 18 U.S.C. § 3553(f); USSG § 5C1.2(a)(5). “The purpose of the Act was to

‘permit a narrow class of defendants, those who are the least culpable participants in such [drug

trafficking] offenses, to receive strictly regulated reductions in prison sentences for mitigating

factors currently recognized under federal sentencing guidelines.’” United States v. Dottery, 259

Fed. A’ppx 812, 816, 2008 WL 118370 (6th Cir. Jan. 11, 2008).

         On April 18, 2014, SA Smith, with Connor’s attorney present, placed a telephone call to

Connor, who was housed in a detention center in Ocilla, Georgia, to debrief him for safety valve

purposes. Connor was reluctant to forthrightly answer Agent Smith’s questions and the interview

was stopped twice so Connor could confer with his attorney. Connor admits that he provided

false, misleading and incomplete information to Agent Smith on April 18, 2014, although he

became more forthcoming near the end of the interview after consultation with his lawyer. Agent

Smith ultimately terminated the interview because it was going so poorly. Just prior to the July

30 sentencing hearing, Connor’s attorney made a request of the assistant United States attorney

handling this case that Connor be given a further debriefing.2 The government refused.

         As noted above, Connor testified at the evidentiary hearing. Agent Smith acknowledged

during his testimony at the July 30 hearing that Connor had been more forthcoming at the July 30

hearing than he had been previously at the April debriefing. The United States continues to argue,

however, that even in his July 30 testimony, Connor has not been completely forthright and has

not truthfully admitted his own culpability or the full participation of others in the conspiracy.


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   Connor did not explain why he waited until the eve of the sentencing before asking for another opportunity to
debrief.

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The Court agrees that Connor has not met his burden of establishing that he qualifies for safety

valve. Even if the Court considers Connor’s testimony at the July 30 hearing timely and meeting

the requirement that he provide all information he has “to the Government” not later than the time

of sentencing, he has not met the fifth criterion. First of all, the Court does not find Connor’s July

30 testimony to be credible. Connor maintained, both in the interview with Agent Smith and in

his testimony before the Court, that he did not come to Tennessee intending to purchase crack

cocaine, but rather formed that intent after he arrived here. Yet he left North Carolina for Johnson

City, Tennessee with approximately $4,000.00 in cash3 to meet up with Tavares Dalton, whom he

knew to be engaged in trafficking crack cocaine with his cousin, Demetrius Dalton, in Johnson

City. Connor admitted he had talked with Tavares Dalton about the cost per ounce of crack

cocaine while Tavares Dalton was in North Carolina; he also claims, however, that he came to

Johnson City to convince Tavares Dalton to return to North Carolina to see his probation officer

the following week.        Very simply, Connor’s explanation about his trip to Tennessee lacks

credibility.

        Second, Connor’s account of these events is contradicted by other evidence in the case.

Tavares Dalton stipulated that he had received multi-ounce quantities of crack cocaine at least

once a month from his cousin, Demetrius Dalton, during the three months he was living with

Connor and his sister. Connor testified that neither he nor Tavares Dalton were dealing drugs

during that time. Connor testified that he arrived in Tennessee around noon on April 9, 2013,

without any prior arrangements with Tavares Dalton. Tavares Dalton was intercepted in a

telephone conversation with Demetrius Dalton at approximately 12:16 p.m. on April 9 during

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   Even the amount of cash brought to Tennessee by Connor is unclear. Connor told Agent Smith he had borrowed
$5,700 from his father and had given about $1,700 to his son for college expenses. At the July 30 hearing, Connor
said he had given about $1,700 to $2,000 to his son, but had only $2,000-$2,500 of the cash when he got to Johnson
City. He does not explain what happened to the remainder of the cash, although the Court notes that Tavares Dalton
claimed he received $5,000 in cash from Connor on April 9.

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which Tavares Dalton arranged a $5,000 purchase of crack cocaine from Demetrius Dalton, in

part funded by a “g __d___ fat ass n____” who was coming to town with “about 3 bears.”

Connor admits that the reference in this telephone conversation is to him.

       On July 24, 2014, Agent Smith and AUSA Regalia interviewed Tavares Dalton. Dalton

stated that he began to live with Connor and his sister in February, 2013, and that within two

weeks, Connor was asking about cocaine prices. Dalton said the calls he made prior to April 9 to

his cousin Demetrius Dalton were on behalf of Connor, and phone records verified that calls were

made during the relevant timeframe. According to Dalton, he contacted Connor from Johnson

City on April 7 and told him to come to Tennessee to pick up crack cocaine. Connor arrived on

April 9. Dalton received $4,500 from Connor initially for the purchase, but had to get an

additional $500. All the crack cocaine Tavares Dalton obtained from Demetrius Dalton on April

9 was for Connor.

       Finally, Connor also has not been completely candid about the participation of others.

Although Connor admits he intended to sell the crack cocaine obtained on April 9, he claims he

did not have a buyer identified.      He only identified a potential buyer from “around the

neighborhood” known as “Plump” or “Plumpy.” Connor said he could not provide a correct

name, address, phone number or any other information that could be used by Agent Smith to

identify Plumpy. Without any of this information, it is difficult to conceive how Connor himself

could have arranged the sale of the crack cocaine obtained from Demetrius Dalton in Johnson

City on April 9.

       In sum, Connor has not met his burden of establishing entitlement to safety valve by

proving by a preponderance of the evidence that he provided the government all the information

he has concerning his offense and relevant conduct.          He has not been candid about his



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involvement or the involvement of others. His request for sentencing below the mandatory

minimum pursuant to the safety valve provisions of 18 U.S.C. § 3553(f) and USSG § 5C1.2(a) is

therefore DENIED.

       So ordered

       ENTER:


                                                            s/J. RONNIE GREER
                                                     UNITED STATES DISTRICT JUDGE




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